     Case 2:23-cv-05515-OEM-JMW Document 4 Filed 07/21/23 Page 1 of 2 PageID #: 332

 AO 440 (Rev. 06/12) Summons in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                             for the
                                                  Eastern District ofNewYork   El
                        WITH YOU LLC                           )
                                                               )
                                                               )
                                                               )
                             Plaintiff(s)                      )
                                                                       Civil Action No. 23-cv-5515 (OEM)(JMW)
                                                               )
                                 V.
                                                               )
                                                               )
                       JESSICA TIRADO
                                                               )
                                                               )
                                                               )
                           Defendant(s)                        )

                                                 SUMMONS IN A CIVIl, ACTION

To: (Defendant's name and address)

                                        JESSICA TIRADO
                                        40 LAKE GROVE BLVD.
                                        CENTEREACH, NY 11722



          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it)- or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) -you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are:
                                       CHARLES W. GRIMES, ESQ.
                                       GRIMES LLC
                                       600 THIRD AVENUE, 2ND FLOOR
                                       NEW YORK, NY 10016


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                        Brenna B. Mahoney
                                                                         CLERK OF COURT

              7/21/2023
Date:
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 Civil Action No. 23-cv-5515(OEM)(JMW)

                                                     PROOF OF SERVICE
                     (This section should not he filed with the court unless required by Fed. R. Civ. P. 4 (I))

           This summons for (name of individual and title, if any)
 was received by me on (date)

           □    I personally served the summons on the individual at (place)
                                                                           on (date)                                  ; or

           □    I left the summons at the individual's residence or usual place of abode with (name)
                                                            , a person of suitable age and discretion who resides there,
          - - - - - - - - -- - - - - - - - -
           on (date)                                ' and mailed a copy to the individual's last known address; or
                       --------
           0 I served the summons on (name of individual)                                                                      , who is

            designated by law to accept service of process on behalf of (name of organization)
                                                                                  on (date)                           ; or
          - - - - - - - - - - - - - - - - - - - -- - - -
            □   I returned the summons unexecuted because                                                                           ; or
                                                                       - -- - - -- - -- - - - - - - - - - - -
           D Other (specify):




            My fees are$                            for travel and $                  for services, for a total of$          0.00


            I declare under penalty of perjury that this information is true.


 Date:
                                                                                              Server 's signature



                                                                                          Printed name and title




                                                                                              Server's address


 Additional information regarding attempted service, etc:
